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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                                MACON DIVISION


UNITED STATES OF AMERICA,

v.                                                    CRIMINAL ACTION NO.
                                                       5:21-cr-00043-TES-CHW
DEMETRIS HILL,

         Defendant.


         ORDER GRANTING UNOPPOSED MOTION FOR CONTINUANCE



        Before the Court is the Government’s Unopposed Motion for Continuance [Doc.

 17]. On July 8, 2021, the Grand Jury charged Defendant Demetris Hill with 60 counts of

 Theft of Government Money in violation of 18 U.S.C. § 641 [Doc. 1, pp. 1–3]. Defendant

 entered a plea of not guilty on July 27, 2021. [Doc. 10].

        In its unopposed motion, the Government states that additional time will afford

 “Defendant’s counsel an opportunity to provide discovery to the Government, and for

 the parties to continue to discuss a possible resolution.” [Doc. 17, p. 2]. Consistent with

 the Government’s request, the Court GRANTS its Unopposed Motion for Continuance

 [Doc. 17] and CONTINUES this case to the Court’s next regularly scheduled Trial

 Term—February 7, 2022. The ends of justice served by granting this continuance

 outweigh the best interests of the public and Defendant for a speedy trial and are in

 accordance with the considerations required under 18 U.S.C. § 3161(h)(7)(A) for

 excusable delay. See 18 U.S.C. § 3161(h)(7)(b)(i), (iv).
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SO ORDERED, this 3rd day of November, 2021.

                              S/ Tilman E. Self, III
                              TILMAN E. SELF, III, JUDGE
                              UNITED STATES DISTRICT COURT




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